                Case 1:25-cv-00381-ABJ              Document 52       Filed 03/03/25       Page 1 of 3
                   IN THE UNITED STATESDISTRICT COURTFORTHEDISTRICT OFCOLUMBIA




NationalTreasury Employees Union, etal.
                            Plaintiff(s)
                                                         VS.                     CaseNo:1:25-cv-00381-ABJ
RussellVought,in his official capacity asActing Director of
the ConsumerFinancial Protection Bureau, etal.
                           Defendant(s)



                                           AFFIDAVIT OFSERVICE BYCERTIFIED MAIL


I, Scott Slatkin aPrivate Process Server, being duly sworn,depose and say, I havebeen dulyauthorized to makeserviceofthe
documents listed herein in the above entitled case, Iamover the ageofeighteen years and amnotaparty to orotherwise
interested in this matter.


DOCUMENT(S): Summons andFirstAmendedComplaint(Temporary RestrainingOrderRequested)

SERVETO: Pamela Bondi, AttorneyGeneralofthe United States


SERVICEADDRESS: U.S. DepartmentofJustice, 950 Pennsylvania Avenue, NW,Washington,DC20530


METHODOFSERVICE: PerCOVID-19 service ofprocess protocol, servicewascompleted bymailingacopy ofthedocumentslisted
herein toPamela Bondi, AttorneyGeneralofthe United States, U.S. DepartmentofJustice, 950Pennsylvania Avenue, NW,
Washington, DC20530 on02/14/2025 via United States Postal Service, Certified Mail, Return Receipt Requested. Article Number:
9589 071052700332958724. Service was delivered on02/20/2025, perUSPS.com        -USPSTrackingResults attached.

|solemnlyaffirm under
                           the penalties ofperjury that thecontents ofthis documentaretrue tothebestofmyknowledge,
information, and belief.


Executed on02/27/2025




                                                                          Settes                                 Scott Slatkin


                                                                                                            Client Ref Number:
                                                                                                               Job#:12714959




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               Case 1:25-cv-00381-ABJ               Document 52        Filed 03/03/25    Page 2 of 3
AO440(Rev.06/12; DC3/15) SummonsinaCivilAction



                                 UNITEDSTATESDISTRICTCOURT
                                                              forthe

                                                        District ofColumbia



        National Treasury Employees Union, etal.




                       Plaintiff(s)
                           V.                                          CivilActionNo. 25-cv-00381-ABJ

  RUSSELL VOUGHT, in his official capacity asthe




                                                                 ☑
 acting director ofthe Consumer Financial Protection
                     Bureau, etal.


                      Defendant(s)


                                               SUMMONSINACIVILACTION


To: (Defendant's nameandaddress) Pamela Bondi
                                      Attorney General ofthe United States
                                      U.S. DepartmentofJustice
                                      950 Pennsylvania Avenue, NW
                                      Washington, DC20530-0001



          Alawsuit hasbeenfiled againstyou.


       Within 21 days after service ofthis summonsonyou(notcountingthe day you received it)- or60daysifyou
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P.12(a)(2) or(3) -youmustserveonthe plaintiffananswertothe attachedcomplaint oramotion under Rule 12 of
the FederalRules ofCivil Procedure. Theanswer or motion must be served onthe plaintifforplaintiffs attorney,
whosenameandaddress are:      Deepak Gupta
                                      2001 KStreet NW
                                      Suite 850 North
                                      Washington, DC2000



          Ifyoufail torespond,judgmentbydefaultwill beentered against youforthe reliefdemanded inthecomplaint.
Youalsomustfile your answer ormotionwiththe court.




                                                                          ANGELAD. CAESAR, CLERKOFCOURT



Date:           02/14/2025                                                              /s/ Dwight Patterson
                                                                                   Signature ofClerk orDeputyClerk
                                                                 USrS.com     USPS Iracking   ResuitS
                    Case 1:25-cv-00381-ABJ               Document 52            Filed 03/03/25          Page 3 of 3
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     USPSTracking                                                                                                       FAQS




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